                                   UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                         No. 1:12-cv-1349

United States of America,                         )
                                                  )
                            Plaintiff,            )
                                                  )
vs.                                               )
                                                  )
Terry S. Johnson, in his official capacity as     )
Alamance County Sheriff,                          )
                                                  )
                            Defendant.            )

           INTERVENOR’S OBJECTIONS TO MAGISTRATE JUDGE’S FEBRUARY 10, 2014, ORDER

            COMES NOW, Intervenor, Boney Publishers, Inc., who, pursuant to Fed. R. Civ. P. Rule 72

and Fed. R. Civ. P. 6 (d) timely files its Objections to Magistrate Judge’s February 10, 2014,

Order.

      I.        Background

            On December 20, 2012, Plaintiff the United States of America filed a civil action against

Defendant in his official capacity as Alamance County Sheriff alleging Defendant engaged in

discriminatory policing targeting Latinos within the County.

            On April 24, 2013, this Court issued a Joint Confidentiality and Protective Order allowing

any party to designate as confidential any information that it determined contained personally

identifiable or confidential information or information subject to protection under the Privacy

Act of 1974, 5 U.S.C. § 552a, or other applicable federal or state law. (Dkt. 18) (the “Protective

Order”). The order defined personally identifiable and confidential information to include

“information that can be used to distinguish or trace an individual’s identity, either alone or

when combined with other personal or identifying information that is linked or linkable to a

specific individual, and information that can be used to identify an individual as an informant in



                                                      1




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 1 of 11
this matter.” Id. This included, explicitly, “records maintained by a law enforcement agency or

other governmental agency.” Id. Further, all Alamance County Sheriff’s Office (“ACSO”) files and

any other documents containing personally identifiable information were deemed automatically

confidential. Id.

        On September 4, 2013, Boney Publishers, Inc., moved to intervene. (Dkt. 42). That

motion was granted on November 14, 2013. (Dkt. 67).

        Intervenor then moved to modify the Protective order on the grounds that the order

violates the North Carolina Public Records Law. (Dkt. 75). At that time, Intervenor also argued

that the order violated the public’s right to judicial records and proceedings. Id. The motion

sought specific changes in the Protective Order:

                    1. Modify the definition of “personally identifiable information”
                    in Paragraph 1(d);

                    2. Eliminate the automatic designation of information as
                    confidential in Paragraph 3(a);

                    3. Clarify in paragraphs 3 and 5 that the Alamance County
                    Sheriff’s Office shall not be restricted in any way in complying
                    with the North Carolina Public Records Law; and

                    4. Provide in paragraph 8 a constitutionally sound procedure for
                    the proposed filing under seal of documents designated as
                    “confidential.”1

        This case is of tremendous, legitimate public concern to the people of Alamance County

and the State of North Carolina. For example, the United States claims to have a 2012 statistical

study commissioned by the United States Department of Justice (“DOJ”) that indicates a Latino

driver in Alamance County is “as much as ten times more likely than a similarly situated non-



1
  Intervenor accepts the modifications to the Protective Order enacted by Magistrate Webster,
eliminating the automatic designation of confidentiality in certain records and clarifying that any
party seeking to file a document under seal must satisfy Constitutional requirements to do so.
Intervenor urges this Court to make similar modifications to the Protective Order.

                                                   2




    Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 2 of 11
Latino driver to be stopped by an ACSO deputy for committing a traffic infraction.” Complaint ¶

4. The government alleges that “while at a vehicle checkpoint, Defendant Johnson issued

instructions to his subordinates to “go out there and get me some of those taco eaters,” which

his subordinates understood as a directive to target Latinos for arrest.” Complaint ¶ 6.

          The records and proceedings before the court in this matter are of particular concern to

the public because the allegations allege abuse at the hands of government agents.

          On February 10, 2014, the United States Magistrate Judge denied Intervenor’s motion

to modify the Protective Order. (Dkt. 83). The Magistrate’s order did, however, modify the

Protective Order in two ways. Id. First, the order altered the automatic confidentiality of records

containing personally identifiable information, requiring instead that parties designate

confidential records. Id. Second, judicial records used to adjudicate substantial rights were

removed from the Protective Order’s purview, absent public notice, consideration and specific

findings by the court permitting confidentiality. Id.

          Intervenor maintains that records subject to the North Carolina Public Records Law

cannot properly be removed from public inspection by a Protective Order and that the

modifications made by the Magistrate do not go far enough. For this reason, Intervenor files this

objection to the Magistrate’s February 10, 2014, Order.

    II.       Standard of Review

          A District Court judge may modify or set aside a non-dispositive order if it is “clearly

erroneous or contrary to law.” Fed. R. Civ. P. 72(a); 28 U.S.C. § 636(b)(1)(A); Gardendance, Inc. v.

Woodstock Copperworks, Ltd., 230 F.R.D. 438, 447 (M.D.N.C. 2005). Under this standard, the

Court will overturn a decision where a review of the record leaves the “definite and firm

conviction that a mistake has been committed.” United States v. United States Gypsum Co., 333

U.S. 364, 395, 68 S.Ct. 525, 542, 92 L.Ed. 746 (1948).

                                                  3




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 3 of 11
    III.       The Magistrate Judge’s February 10, 2014, Order is Contrary to Law and Should be
               Set Aside

           The North Carolina Public Records Law provides a right of access, and this court should

set aside the Magistrate’s order and issue an order modifying the Protective Order to the extent

it supplants state law.

           The North Carolina Public Records Law, N.C. Gen. Stat. § 132-1 et seq. provides that the

public has a right to inspect and copy all public records. The law defines public records as:

                   all documents … made or received pursuant to law or ordinance
                   in connection with the transaction of public business by any
                   agency of North Carolina government or its subdivisions.

           N.C. Gen. Stat. § 132-1(a).

           An “agency,” under the law, includes “every public office, public officer or official (State

or local, elected or appointed), institution, board, commission, bureau, council, department,

authority or other unit of government of the State or of any county, unit, special district or other

political subdivision of government.” Id. Without question, the Alamance County Sheriff’s Office

is a public agency.

           Absent a specific, statutory exemption, the public has a right to inspect and copy

documents made or received by a public agency in connection with the transaction of public

business. N.C. Gen. Stat. § 132-6. See Virmani v. Presbyterian Health Servs. Corp., 350 N.C. 449,

465, 515 S.E.2d 675, 686 (1999)("North Carolina's public records act grants public access to

documents it defines as 'public records,' absent a specific statutory exemption."). Accord News

& Observer Pub. Co., Inc. v. Poole, 330 N.C. 465, 486, 412 S.E.2d 7, 19 (1992); Carter-Hubbard

Pub. Co., Inc. v. WRMC Hosp. Operating Corp., 178 N.C. App. 621, 624, 633 S.E.2d 682, 684

(2006) writ allowed, 361 N.C. 218, 642 S.E.2d 246 (2007) and aff'd sub nom. Carter-Hubbard



                                                    4




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 4 of 11
Publ'g Co., Inc. v. WRMC Hosp. Operating Corp., 361 N.C. 233, 641 S.E.2d 301 (2007); McCormick

v. Hanson Aggregates SE., Inc., 164 N.C. App. 459, 463-64, 596 S.E.2d 431, 434, 359 N.C. 69, 603

S.E.2d 131 (2004); Gannett Pacific Corp. v. N.C. State Bureau of Investigation, 164 N.C. App. 154,

156, 595 S.E.2d 162, 164 (2004); Times-News Pub. Co., Inc. v. State, 124 N.C. App. 175, 177, 476

S.E.2d 450, 452 (1996).

        As the Third Circuit held in Pansy v. Borough of Stroudsberg, where the information

sought is subject to federal or state public records laws, “a strong presumption exists against

granting or maintaining an order of confidentiality whose scope would prevent disclosure of

that information. [T]his strong presumption tilts the scales heavily against entering or

maintaining an order of confidentiality.” 23 F.3d 772, 791 (3d Cir. 1994) (emphasis added).

Similarly, in City of Hartford v. Chase, the Second Circuit recognized that a federal court may not

seal otherwise open government records “without a compelling reason” and without “careful

scrutiny and particularized scrutiny.” 942 F.2d 130, 135-36 (2d Cir. 1991).

        Initially, in its response to Intervenor’s motion to intervene, the United States opposed

modifying the Protective Order citing the trial preparation exception to the Public Records Law.

N.C. Gen. Stat. §132-1.9(g). (Dkt. 52). Subsequently, in its opposition to Intervenor’s motion to

modify the Protective Order, the United States argued that the Public Records Law exempts

material protected by a court order, again citing N.C. Gen. Stat. §132-1.9(g). (Dkt. 77). That

provision is nothing more than a codification of the common law work product privilege. See

N.C. Gen. Stat. § 132-1.9 and McCormick, 596 S.E.2d 431. The trial preparation exemption

provides only that a public agency need not disclose “trial preparation material that is not also a

public record…” N.C. Gen. Stat. § 132-1.9(g). The Magistrate’s order correctly concluded that

“the documents Plaintiff wishes to keep under seal are in no way work product, and thus do not

receive the protection from this statutory exemption.” (Dkt. 83).

                                                 5




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 5 of 11
         Because Defendant Sheriff Johnson is an “agency” subject to the North Carolina Public

Records Law, the Sheriff has an obligation to provide access to all records it makes or receives in

connection with public business, provided those documents are not exempted by specific

statute. Any documents received by the defendant in this litigation are public records that

should be disclosed upon request, as they do not fall within any specific, statutory exemption to

the North Carolina Public Records Law.

         Accordingly, the Protective Order violates the North Carolina Public Records Law by

removing from public inspection and access documents that are public records. N.C. Gen. Stat. §

132-1. Specifically, paragraph 1(d) of the Protective Order defines “Personally Identifiable and

Confidential Information” as any information that “can be used to distinguish or trace an

individual’s identity.” Paragraph 5, which prohibits the dissemination of these categories of

information or documents without regard to whether they are specifically exempted from

disclosure under the North Carolina Public Records Law, is a violation of state law. These

definitions and provisions are unduly comprehensive and overreaching. North Carolina law sets

forth with great specificity and particularity what is confidential under state law and therefore

exempt from disclosure. For example, G.S. § 153A-98 provides for the privacy of employee

personnel records, and G.S. § 143-518 provides for the confidentiality of medical information.

         Paragraphs 3, 4, 5 and 6 of the Protective Order must also be modified to clarify that a

public agency in possession of information that is not confidential under North Carolina state

law is permitted to disclose such information consistent with the North Carolina Public Records

Law. 2




2
 The Magistrate’s order requires designation of confidential records, but does not make clear that
records that are public under the North Carolina Public Records Law should not be so designated or that
such designation should not impact the ASCO’s compliance with North Carolina Law.

                                                    6




    Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 6 of 11
        The fact that Sheriff Johnson is a defendant in litigation has no bearing on his obligations

under the North Carolina Public Records Law, and he should be relieved of any obligation to

withhold from public inspection documents that he has received in connection with this

litigation. He must be free to disclose documents created by his office or received by his office

unless they otherwise are exempt from disclosure under North Carolina law.

        Plaintiff makes the argument that “federal courts are not bound by state open records

laws when fashioning the scope of protective orders.” (Dkt. 77). The Magistrate’s order likewise

concludes that “the federal judiciary is not constrained in any way by state law requiring public

access to documents.” (Dkt. 83).

        The question at hand is not whether this Court is bound by the state’s public records

laws. The question is whether a federal court can simply erase a state agency’s obligations

under state law, and neither the Plaintiff nor the Magistrate has offered meaningful authority

for such a proposition.

        Both Plaintiff and the Magistrate cite to an Arizona case, U.S. v. Loughner, 807 F. Supp.

2d 828 (2011) (the “Gabby Giffords” case) in support of this proposition. In that case, the order

directed that the Sheriff “shall not publicly release any investigative reports, files, or materials

relating to the investigation of this case...” Id., at 833. The trial court therein found that the

news organizations involved in the suit had no enforceable right to access the investigation

materials. Id. However, The Gabby Giffords case is distinguishable in almost every way from the

circumstances of this case.

        First, the Loughner court found “fundamental” the fact that the records requested were

the result of a joint investigation by the local and federal law enforcement, which essentially

changed the character of the records sought. The court therein wrote:




                                                 7




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 7 of 11
                 This is where the news organizations' invocation of Arizona's
                 public records law, A.R.S. § 39–121, comes in. Their rebuttal is,
                 essentially, that federal law is irrelevant. They seek records
                 compiled by the Sheriff's Department in the course of its own
                 investigation of the January 8, 2011 shooting, and under § 39–
                 121, they are entitled to them. (Doc. No. 157–1; Doc. No. 179 at
                 5–6.)4 But there are a lot of problems with that rebuttal. The
                 biggest one is that there is no such thing, in the first instance, as
                 the Sheriff Department's own investigation; from the beginning,
                 the investigation of the January 8 Tucson shootings was a joint
                 effort of the Sheriff's Department, the Federal Bureau of
                 Investigation, and other federal law enforcement agencies.
                 Highlighting the federal government's preeminent involvement
                 in the investigation is the mandate of 18 U.S.C. § 351 that
                 investigations of the attempted murder of a Member of
                 Congress “shall be investigated by the Federal Bureau of
                 Investigation. Assistance may be requested from any Federal,
                 State, or local agency....” 18 U.S.C. § 351(g).

Id. at 834 (emphasis in original). The court also explained the significance of the joint

investigation. “Thus, while the news organizations label their request as one for state records, it

is more accurately characterized as a request for records pertaining to a federal investigation.

‘When federal and state agencies cooperate extensively on a joint investigative task force, the

state agencies may be deemed to be ‘agents’ of the federal government....’ United States v.

Cerna, 633 F. Supp. 2d 1053, 1059 (N.D. Cal. 2009).” Id. (emphasis in original).

        By contrast, here, there is no joint investigation. There is no investigation covered by the

statutorily-imposed preeminence of the federal government. The records sought are not federal

investigatory records; they are the public records of a state entity. The state’s public records

laws should continue to apply to the state agency and should not be suspended merely because

the ACSO is involved in litigation.

        Second, the Gabby Giffords case dealt exclusively with criminal procedure, which

inherently involves different policy considerations for privacy, as well as evidentiary and

prosecutorial efficiency. These considerations led the court to conclude that even if it were



                                                  8




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 8 of 11
“obligated to treat the investigation materials as public records under Arizona law, it would still

find that the protective order is justified under Local Rule 57.2(f)8 out of consideration for the

defendant's Sixth Amendment right to a fair trial.” Id., at 835. In granting a subsequent motion

to vacate the same protective order, the Loughner Court wrote that the judicial records and

federal predominance issues were “accessory points in support of the protective order; they

weren’t themselves the basis for entering it. Mr. Loughner’s right to a fair trial was.” U.S. v.

Loughner, No. 4:11-cr-00187-LABU, Docket No. 496 at 2 (D. Ariz. February 25, 2013). The court

also noted that it was taking no position on the status of the materials under Arizona’s public

records law and that any enduring justification for keeping them from public view was “for an

Arizona court to decide.” Id. at 2-3.

        Here, there is no criminal defendant, and there are no Sixth Amendment fair trial

concerns. There is no justification for prohibiting access to the records and circumscribing the

state’s public records law. Even assuming, arguendo, such a justification did exist, this Court

should, at minimum, modify the protective order to provide for its termination at the close of

the case and allow a state court to determine the status of the records.

        Third and finally, the Arizona public records law merely presumes openness. The law

allows for withholding of records upon the government’s “specifically demonstrate[ing] how

producing the documents would violate rights of privacy or confidentiality, or would be

‘detrimental to the best interests of the state.’” Cox Ariz. Publ’ns, Inc. v. Collins, 175 Ariz. 11, 14,

852 P.2d 1194, 1198 (1993). By contrast, North Carolina law does not allow any such showing.

The North Carolina Public Records Law makes clear that absent an express statutory exemption

from the law, all records made or received in the course of a public agency’s operations are

subject to public scrutiny. N.C. Gen. Stat. § 132-6. See Virmani, 350 N.C.at 465; Poole, 330 N.C.

at 486; Carter-Hubbard, 178 N.C. App. at 624, 633 S.E.2d at 684; McCormick, 164 N.C. App. at

                                                   9




  Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 9 of 11
463-64, 596 S.E.2d at 434; Gannett Pacific, 164 N.C. App. at 156, 595 S.E.2d at 164; Times-News

Pub., 124 N.C. App. at 177, 476 S.E.2d at 452. There is no statutory exemption applicable in this

case.

        In sum, because there is no state statutory exemption from the Public Records Law at

issue in this case, the records must be open to public inspection. Unlike the Gabby Giffords case

cited by the Magistrate, there is no federal statutory authority that would pre-empt the state’s

public records law at issue. There is no fair trial or jury concern to justify withholding public

records from the public’s view. Accordingly, the Magistrate Judge’s February 10, 2014 order

denying modification of the Protective Order is contrary to law.

                                          CONCLUSION

        For these reasons, Movant respectfully objects to the February 10, 2014, Magistrate

Judge’s Order and requests the Court to accept the two changes made by the Magistrate and

further modify the Protective Order. Specifically, Intervenor seeks the following modifications to

the original Protective Order:

        1. Modify the definition of “personally identifiable information” in Paragraph 1(d);

        2. Eliminate the automatic designation of information as confidential in Paragraph 3(a);

        3. Clarify in paragraphs 3, 4, 5 and 6 that the Alamance County Sheriff’s Office shall not

be restricted in any way in complying with the North Carolina Public Records Law; and

        4. Provide in paragraph 8 a constitutionally sound procedure for the proposed filing

under seal of documents designated as “confidential.”




                                               10




 Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 10 of 11
Respectfully submitted this the 24th day of February, 2014.

                                                 STEVENS MARTIN VAUGHN & TADYCH, PLLC



                                                 /s/ C. Amanda Martin
                                                 C. Amanda Martin
                                                 amartin@smvt.com
                                                 N.C. State Bar No. 21186
                                                 Attorneys for Movant
                                                 1101 Haynes Street, Suite 100
                                                 Raleigh, NC 27604
                                                 919.582.2300 telephone
                                                 866.593.7695 facsimile




                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of February, 2014, I electronically filed the
foregoing Memorandum in Support of Access to Public Records and Judicial Records with the
Clerk of Court using the CM/ECF system, which will send notification of such filing as follows:

        S.C. Kitchen (ckitchen@turrentinelaw.com)
        Michael J. Songer ( michael.songer@usdoj.gov)

        This the 24th day of February, 2014.

                                                 /s/ C. Amanda Martin
                                                 C. Amanda Martin
                                                 NC State Bar No. 21186
                                                 STEVENS MARTIN VAUGHN & TADYCH, PLLC
                                                 1101 Haynes Street, Suite 100
                                                 Raleigh, NC 27604
                                                 Phone: 919-582-2300
                                                 Facsimile: 866-593-7695
                                                 Email: amartin@smvt.com




                                                11




 Case 1:12-cv-01349-TDS-JLW Document 84 Filed 02/24/14 Page 11 of 11
